                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2022-NCSC-44

                                           No. 121PA21

                                       Filed 18 March 2022

     IN THE MATTER OF: V.S. and A.S.




           On writ of certiorari pursuant to N.C.G.S. § 7A-32(b) from orders entered on

     28 September 2020, 29 October 2020, and 4 March 2021 by Judge W. Turner

     Stephenson III in District Court, Bertie County. This matter was calendared for

     argument in the Supreme Court on 18 February 2022 but determined on the record

     and briefs without oral argument pursuant to Rule 30(f) of the North Carolina Rules

     of Appellate Procedure.


           Miller &amp; Audino, LLP, by Jay Anthony Audino, for petitioner-appellee Beaufort
           County Department of Social Services.

           Michelle FormyDuval Lynch for appellee Guardian ad Litem.

           Wendy C. Sotolongo, Parent Defender, and Annick Lenoir-Peek, Deputy Parent
           Defender, for respondent-appellant mother.


           BARRINGER, Justice.

¶1         Respondent appeals from orders terminating her parental rights in the minor

     children V.S. and A.S. (Vincent and Ava),1 arguing that the trial court erred in




           1 Pseudonyms are used in this opinion to protect the juveniles’ identities.
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     determining that there was a likelihood of a repetition of neglect. After careful review,

     we hold that the trial court did not err in determining that there was a likelihood of

     a repetition of neglect. Accordingly, we affirm the trial court’s orders terminating

     respondent’s parental rights.

                        I.     Factual and Procedural Background

¶2         Bertie County Department of Social Services (DSS)2 initiated this matter on

     20 June 2017 by filing petitions alleging Vincent and Ava to be neglected and

     dependent juveniles. The trial court adjudicated the children neglected juveniles,

     finding that respondent “created an unsafe living environment for her children” and

     lacked understanding regarding everyday functioning and parenting. Under

     respondent’s care, Vincent and Ava had been exposed to pornography and domestic

     violence, had been kept in “filthy” homes, had unstable living arrangements, and had

     poor hygiene. At the time of the petition, Vincent and Ava were residing with

     respondent in a home with “maggots under the carpet resulting from a failure to

     dispose of garbage.” The trial court also adjudicated respondent to be mentally

     incompetent and appointed her a guardian ad litem.

¶3         After a permanency planning hearing on 5 February 2019, the trial court

     relieved DSS of reunification efforts, finding that the permanent plan of reunification



           2  On 2 April 2019, the trial court allowed Bertie County Department of Social
     Services’s motion to substitute Beaufort County Department of Social Services for Bertie
     County Department of Social Services as a party of interest.
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     could not be implemented within the next six months because of Vincent’s and Ava’s

     therapeutic and medical needs as well as respondent’s failure to participate in her

     case plan or address her situation such that the children could return to her care. In

     an order filed in July 2019, the trial court ordered that the primary plan be adoption,

     finding that reunification in the next six months was still “not possible” due to

     respondent’s inability to acquire independent living skills for her own daily

     functioning and her limited cognitive functioning. DSS moved to terminate parental

     rights on 5 November 2019.

¶4         At the termination-of-parental-rights hearing, DSS objected to certain

     testimony by two of respondent’s witnesses, which the trial court sustained.

     Respondent made an offer of proof by having each witness, on the record, answer the

     same questions to which the trial court had previously sustained objections. After the

     hearing, the trial court entered an order adjudicating that grounds existed to

     terminate respondent’s parental rights to Vincent and Ava based on neglect, N.C.G.S.

     § 7B-1111(a)(1), and dependency, N.C.G.S. § 7B-1111(a)(6).

¶5         Respondent filed a notice of appeal on 24 November 2020, which was signed by

     respondent and her attorney. In an order entered on 4 March 2021, the trial court

     dismissed respondent’s notice of appeal for failure to have her guardian ad litem sign

     the notice of appeal. On 7 April 2021, respondent filed a petition for writ of certiorari
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     requesting reinstatement of the appeal. This Court, in a 9 June 2021 special order,

     allowed the petition for writ of certiorari.

                                         II.     Analysis

        A. Standard of Review

¶6         The North Carolina Juvenile Code sets out a two-step process for termination

     of parental rights: an adjudicatory stage and a dispositional stage. N.C.G.S. §§ 7B-

     1109 to -1110 (2021). At the adjudicatory stage, the trial court takes evidence, finds

     facts, and adjudicates the existence or nonexistence of the grounds for termination

     set forth in N.C.G.S. § 7B-1111. N.C.G.S. § 7B-1109(e). If the trial court adjudicates

     that one or more grounds for termination exist, the trial court then proceeds to the

     dispositional stage where it determines whether terminating the parent’s rights is in

     the juvenile’s best interests. N.C.G.S. § 7B-1110(a).

¶7         Appellate courts review a trial court’s adjudication pursuant to N.C.G.S. § 7B-

     1111(a) to determine whether the findings are supported by clear, cogent, and

     convincing evidence and whether the findings support the conclusions of law. In re

     E.H.P., 372 N.C. 388, 392 (2019). In doing so, we limit our review to “only those

     findings necessary to support the trial court’s determination that grounds existed to

     terminate respondent’s parental rights.” In re T.N.H., 372 N.C. 403, 407 (2019). “A

     trial court's finding of fact that is supported by clear, cogent, and convincing evidence

     is deemed conclusive even if the record contains evidence that would support a
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     contrary finding.” In re B.O.A., 372 N.C. 372, 379 (2019). Further, “[f]indings of fact

     not challenged by respondent are deemed supported by competent evidence and are

     binding on appeal.” In re T.N.H., 372 N.C. at 407. We review the trial court’s

     conclusions of law de novo. In re C.B.C., 373 N.C. 16, 19 (2019).

        B. Neglect

¶8         The trial court concluded that grounds existed to terminate respondent’s

     parental rights to Vincent and Ava for neglect under N.C.G.S. § 7B-1111(a)(1). The

     Juvenile Code authorizes the trial court to terminate parental rights if “[t]he parent

     has abused or neglected the juvenile” as defined in N.C.G.S. § 7B-101. N.C.G.S. § 7B-

     1111(a)(1) (2021). A neglected juvenile is defined, in pertinent part for this matter, as

     a juvenile “whose parent . . . [d]oes not provide proper care, supervision, or discipline

     . . . [or c]reates or allows to be created a living environment that is injurious to the

     juvenile’s welfare.” N.C.G.S. § 7B-101(15) (2021).

¶9         “[I]f the child has been separated from the parent for a long period of time,

     there must be a showing of past neglect and a likelihood of future neglect by the

     parent.” In re D.L.W., 368 N.C. 835, 843 (2016). “When determining whether such

     future neglect is likely, the [trial] court must consider evidence of changed

     circumstances occurring between the period of past neglect and the time of the

     termination hearing.” In re Z.V.A., 373 N.C. 207, 212 (2019). “The determinative

     factors must be the best interests of the child and the fitness of the parent to care for
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       the child at the time of the termination proceeding.” In re Ballard, 311 N.C. 708, 715
       (1984) (emphasis omitted).

¶ 10         Here, the trial court found past neglect and determined that there was “a high

       likelihood of a repetition of this neglect” if Vincent and Ava were returned to

       respondent’s care. Respondent does not contest the finding of past neglect but limits

       her challenge to the determination that there was a likelihood of future neglect,

       specifically arguing that “the [trial] court failed to properly address whether or not

       [Ms.] Bunch (and other family members) . . . could assist [respondent] in preventing

       future neglect.” In making this argument, respondent challenges a number of

       findings of fact as unsupported by the evidence. However, even if we were to find

       these findings unsupported, we are still bound by the remaining unchallenged

       findings of fact which are more than sufficient to support the trial court’s

       determination that there was a likelihood of a repetition of neglect.

¶ 11         The unchallenged findings do not reveal any change in circumstances

       supporting the conclusion that Vincent and Ava would not be neglected in the future

       if returned to respondent’s care. Instead, the findings provide overwhelming support

       for the trial court’s determination that there was a likelihood of a repetition of neglect,

       regardless of respondent’s challenges to other findings involving the suitability of

       family members as caregivers. The relevant unchallenged findings are as follows:

                          38. The following facts, from the adjudication
                    hearing, are binding on the parties, and consist of the
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reasons the juveniles were removed from the home.

             a. [Respondent] lacks adequate housing and
      has presented an identifiable pattern of unstable
      living for the last twelve months, which has created
      an unsafe living environment for her juveniles.

             b. [Respondent]’s frequent changes in and
      different living arrangements have not resulted in a
      better    placement     due     either  to   unsafe
      neighborhoods,      a   failure    to  have   basic
      accommodations such as heat or air conditioning in
      a mobile home, and/or a failure to have an
      appropriate number of bedrooms, including one
      home with no beds and all household members
      sleeping in one room on the floor.

            c. [Respondent]’s homes have been filthy,
      including her home at the time of the filing of the
      underlying petition, which was found to have
      maggots under the carpet resulting from a failure to
      dispose of garbage.

            d. The juveniles’ personal hygiene when in
      the care of [respondent] over the past [twelve]
      months was poor.

             e. The juveniles have been directly exposed
      to domestic violence that involved [respondent]’s
      live-in boyfriend cursing at her, pushing her,
      spitting in her face, breaking furniture in anger, and
      on one occasion threatening that “everyone got to die
      one day[.”]

            f. The juveniles have been exposed to
      pornography in [respondent]’s home . . . .

            g. Based     upon    the   Comprehensive
      Psychological Evaluation by Evans Health on
      [3 May 2017], [respondent] has a history of
      developmental disability that negatively impacts
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      the welfare of the juveniles. [Respondent] does not
      understand many of the decisions and [judgments]
      in everyday functioning and child rearing. She needs
      guidance and support not only to parent her
      juveniles, but also for herself to function
      independently.

      39. The problems in [respondent]’s home for the
juveniles consisted of the juveniles having poor hygiene,
being exposed to domestic violence, and being exposed to
pornography. Due to [respondent]’s cognitive delays, the
juveniles’ basic needs were not met.

      ....

      48. [Respondent]          has       completed       a
psychological/parenting capacity evaluation with Dr.
Kristy Matala. The evaluation determined that
[respondent] is not capable of parenting these juveniles.

      ....

       51. [Respondent] has extensive and significant
cognitive limitations, which impair her ability to address
problem-solving situations.

       52. [Respondent]’s cognitive limitations interfere
with her ability to independently parent her juveniles, and
she would require significant supervision and assistance in
order to parent.

       53. [Respondent] has difficulty making sound
decisions for herself or her children. This fact from her
evaluation was echoed, during their testimony, by both Ms.
Bunch and Ms. Spivey, [with] which this [c]ourt concurs.

      ....

      57. [Respondent] was administered a personality
assessment inventory (PAI) which is an objective test
measuring personality patterns and clinical syndromes.
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       58. [Respondent]’s PAI was determined to be
invalid as she responded to items inconsistently or did not
attend to items appropriately. There are several potential
reasons for this response pattern, including carelessness,
confusion, or failure to follow test instructions.

      59. Dr. Matala believed that [respondent]’s
comprehension is so low that she could not understand the
PAI test questions, and this Court shares the same
concerns.

      60. [Respondent] was also administered a brief
symptom inventory (BSI) designed to assess her for
psychological symptoms that have been present during the
past week.

      61. During the BSI, [respondent] endorsed
experiencing significant psychological turmoil and a
variety of physical health complaints. She reported
experiencing thoughts and impulses as unwanted and
unrelenting. She seems to have unusual ideas.

      62. [Respondent]’s test results were consistent with
the long-standing concerns documented in the records
about her ability to properly parent these juveniles. In real
world application, [respondent] has been unable to provide
proper care to these juveniles.

       63. When interviewed as part of her parenting
capacity/psychological evaluation, it was clear that
[respondent] had difficulty understanding even simple
questions and her responses were not always logical. Her
insight and judgment appeared to be poor. [Respondent]’s
presentation is consistent with the prior court record and
her testimony at this hearing.

       64. At     the   time     of    her    parenting
capacity/psychological     evaluation,     [respondent]
complained of being hungry; however, she admittedly did
not have any money with her. [Respondent] needs
assistance with these type[s] of basic daily living
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situations. Both of [respondent]’s own witnesses (Ms.
Bunch and Ms. Spivey), indicated that she had difficulty
budgeting and needed to be told . . . when to pay her bills.

       65. [Respondent] has difficulty understanding
basic information. She does not appear to understand her
juveniles’ diagnoses or their special needs.

       66. [Respondent] has no insight into why these
juveniles are in the custody of [DSS]. Based upon her lack
of insight, it is not likely that she can prevent the situations
that previously occurred from repeating, as she lacks the
ability to understand what was wrong in the first place.

       ....

      68. [Respondent] continues to reside with Mr.
Woodley despite the concerns that have been expressed
regarding his suitability to be around these juveniles.
Knowing these concerns, [respondent] married him.

       69. [Respondent] is aware that there are
allegations that Mr. Woodley inappropriately touched her
juveniles, but she denies the allegations.

       ....

      81. The services that [respondent] ha[s] received
from Positive Generation in Christ have not resulted in her
developing insight into the current situation or the reasons
that her juveniles were removed from her care.

       ....

       83. Since the [p]etition was filed, [respondent]’s
circumstances are such that it is likely that the juveniles
would be exposed to the same harmful environment if . . .
the juveniles were returned to her residence.

       ....

       86. [Respondent] is not able to care for these
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                     juveniles. If returned to her home, the juveniles would be
                     neglected; repetition of the prior neglect is foreseeable.

                           ....

                           89. [Respondent] does not know [or] even
                     comprehend basic measures necessary to ensure the
                     juveniles’ safety.

       These unchallenged findings of fact are binding on appeal and more than sufficient

       to support the trial court’s determination that there was a likelihood of a repetition

       of neglect.

¶ 12          Certainly, there may be situations where a parent’s reliance in part on others

       to assist her in caring for her children supports a determination that there is not a

       likelihood of a repetition of neglect if the children are returned to her care.

       Nonetheless, the “determinative factors” in assessing the likelihood of a repetition of

       neglect are “the best interests of the child and the fitness of the parent to care for the

       child at the time of the termination proceeding.” In re Z.G.J., 378 N.C. 500, 2021-

       NCSC-102, ¶ 26 (emphasis added) (quoting In re Ballard, 311 N.C. at 715 (emphasis

       omitted)). Even if a parent relies on others for assistance in caring for her children,

       the trial court must assess the fitness of the parent herself, not others, since the

       parent retains ultimate authority over the child. See Adams v. Tessener, 354 N.C. 57,

       60 (2001) (recognizing a parent’s “fundamental right to make decisions concerning

       the care, custody, and control of his or her children” (cleaned up)). Accordingly, a

       parent must be able to understand the past neglect her children suffered while in her
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       care; comprehend how to keep them safe from harm through proper care, supervision,

       discipline, and provision of a living environment not injurious to their welfare; and

       demonstrate an ability to do so. See N.C.G.S. § 7B-101(15). The binding findings of

       fact in this case reveal that respondent lacked this ability at the time of the

       termination-of-parental-rights hearing. Therefore, we affirm the trial court’s

       adjudication that a ground existed to terminate respondent’s parental rights.

¶ 13         Having affirmed the termination of parental rights on the ground of neglect

       adjudicated by the trial court, we need not address the remaining ground of

       dependency. See In re M.A., 374 N.C. 865, 875 (2020). Similarly, while respondent

       preserved objections to some of the trial court’s evidentiary rulings at the

       termination-of-parental-rights hearing, these objections were only relevant to the

       findings of fact respondent challenged. Since we found that the unchallenged findings

       were sufficient to support the trial court’s finding of past neglect, its determination

       that a likelihood of a repetition of neglect exists, and its conclusion that a ground

       existed to terminate respondent’s parental rights, there was no prejudice in the

       exclusion of the testimony at issue even if in error. Thus, we need not address in

       further detail respondent’s evidentiary arguments. Finally, because we allowed

       review of this case on the merits through a petition for writ of certiorari, this case is

       properly before us. See N.C.G.S. § 7A-32(b) (2021); N.C. R. App. P. 21(a)(1).
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       Accordingly, we need not address whether respondent’s notice of appeal was defective

       to resolve this appeal.

                                       III.   Conclusion

¶ 14         The trial court did not err when it adjudicated that the ground of neglect

       existed to terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-

       1111(a)(1), and respondent does not challenge the trial court’s best interests

       determination. Accordingly, we affirm the order terminating respondent’s parental

       rights.

             AFFIRMED.
